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                                                           ROSA BERMAN BLJLBULIA




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   VIA ECF ONLY

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   Federaj Square
   Newark, NJ 07101

                   Re:       USA v. Nowak & Cichy
                             Criminal No. 10-633 (SRC)




        ?iease accept this letter in lieu of a more
                                                      formal motion
  recuesting an extension of time within which
                                                  to file pretrial
  morions on behalf of Defendant Zbigniew Cichy,
                                                      Those motions
  presently are due on July 27, 2012,    For the reasons set forth
  below, we respectfully request an extension
                                                 until October31,
  2012.

       As the Court has experienced, Defendants
                                                          Nowak and Cichy
  have been actively involved in their defense.
                                                            Since we were
  last   in  Court,   I  have   had    extensive    correspondence    with
  Defendant  Cichy   regardinq    the   issues   to  be    raised  in  the
  pretrial motions we intend to file.        Those conversations, which
  are continuing, hopefully will result in more
                                                         focused motions.
  In addition, Defendant’s anticipated
                                             severance motion recuires
  coordjnain    with    Defendant    Nowak,   which   is    somewhat  more
  complicated because she is Pro 51.

       1.0 addition,     I     have   recently returned from              a   one—week
  vacation,   I have     t       TJr    Ci..rcuif brief du   n



                                                       a s.100jficapt OOrffion f
 my time,   In September my time            in    the office will be limited by
 the Jewish hclida..,rs.



      oeren.dant Cichy        and Defendant N owak to file their pretrial
 motIons on or before         October 31, 2012,   If the government files
 a tior to comnel               ndouti e’pl so,        e   l resca to
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           Honorable Stanley R. Chesler
           July 26, 2012
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                 Thank you for your kind consideration of this application.

                                              Respectfully




           cc:   AUSA Shirley Emehelu (via EC?)
                 Mr. Zbigniew Cichy (via PD?)




                                                         cJ
                                                         2
                                                         odA
